873 F.2d 1440Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Marion Leroy PRESSLEY, Plaintiff-Appellant,v.Toni V. BAIR, Defendant-Appellee.
    No. 89-7024.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 23, 1989.Decided April 28, 1989.
    
      Marion Leroy Pressley, appellant pro se.
      Before DONALD RUSSELL, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Marion Leroy Pressley appeals the district court's order dismissing this 42 U.S.C. Sec. 1983 action for failure to demonstrate administrative exhaustion.  Acting pursuant to 42 U.S.C. Sec. 1997e, the district court ordered appellant to exhaust administrative remedies and to advise the court within 100 days of the result of the administrative proceedings.  It warned appellant that failure to advise the court regarding exhaustion would result in dismissal of the action.  Although Pressley maintains that he attached two emergency grievance forms to his complaint, he has not shown that he pursued his grievances through appeals to the level of regional administrator, nor what responses he received.  The district court properly dismissed the case without prejudice upon expiration of the 100 day period, appellant not having complied with its order.
    
    
      2
      The district court could properly require exhaustion of administrative remedies under 42 U.S.C. Sec. 1997e.  Its dismissal of the action, without prejudice, when appellant failed to comply with its order was not an abuse of discretion.  We therefore deny the appointment of counsel and affirm the judgment below.  We dispense with oral argument because the dispositive issues have recently been decided authoritatively.
    
    
      3
      AFFIRMED.
    
    